                    Case 19-10236            Doc 1       Filed 04/09/19 Entered 04/09/19 15:40:03                              Desc Main
                                                           Document     Page 1 of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Johnson Publishing Company, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Fashion Fair Cosmetics
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  200 S. Michigan Ave., Suite 900
                                  Chicago, IL 60604
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.johnsonpublishing.com; www.fashionfair.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 19-10236               Doc 1       Filed 04/09/19 Entered 04/09/19 15:40:03                                 Desc Main
                                                              Document     Page 2 of 35
Debtor    Johnson Publishing Company, LLC                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4243

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
                                        Chapter 11. Check all that apply:
                                                         Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                    Case 19-10236          Doc 1          Filed 04/09/19 Entered 04/09/19 15:40:03                               Desc Main
                                                            Document     Page 3 of 35
Debtor   Johnson Publishing Company, LLC                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 19-10236   Doc 1   Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
                          Document     Page 4 of 35
Case 19-10236   Doc 1   Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
                          Document     Page 5 of 35
    Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
      Johnson Publishing Document
                           Company, LLCPage- 6 of 35


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k
b
}




      200 S. Michigan LLC
      200 South Michigan Ave
      Suite 510
      Chicago, IL 60604


      200 S. Michigan LLC
      c/o Illinois Corporation Service C - RA
      801 Adlai Stevenson Drive
      Springfield, IL 62703


      200 S. Michigan, LLC
      c/o Corporation Service Company
      251 Little Falls Drive
      Wilmington, DE 19808


      ABA Packaging Corporation
      740 Blue Point Road
      Holtsville, NY 11742


      ABA Packaging Corporation
      c/o The CKB Firm
      30 North LaSalle Street
      Suite 1520
      Chicago, IL 60602


      ABA Packaging Corporation
      Attn: Ralph Agoglia, CEO
      38 Old Brook Road
      Dix Hills, NY 11746


      Adelman & Getleman, Ltd.
      53 West Jackson Boulavard
      Chicago, IL 60604


      ADP, INC.
      84 State St
      Boston, MA 02109


      ADP, LLC
      1851 N. Resler Drive
      El Paso, TX 79912


      ADP, LLC
      c/o Lyon Collection Service
      7924 West Sahara Avenue
      Las Vegas, NV 89117
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson Publishing Document
                       Company, LLCPage- 7 of 35



  Advance Distribution Systems
  1100 Summer Street
  Stamford, CT 06905


  Advanced Distribution Systems, Inc.
  105-107 Stonehurst Ct.
  Northvale, NJ 07647


  Ajilon Finance
  Dept. CH 14031
  Palatine, IL 60055


  Ajilon North America, LLC
  c/o CT Corporation System - RA
  208 S LaSalle St
  Chicago, IL 60604


  Albea Cosmetics America, Inc.
  595 Madison Ave.
  10TH Floor
  New York, NY 10022


  Albea Cosmetics America, Inc.
  191 State Route 31 N
  Washington, NJ 07882-1529


  Alice Rooks
  9312 S Justime
  Chicago, IL 60620


  Alwyns, LLP
  Crown House
  151 High Road
  Loughton
  Essex, IG10 4LG


  American Eagle Packaging
  1645 Todd Farm Drive
  Elgin, IL 60123


  American Eagle Packaging Corporation
  c/o Thomas R Palmer- RA
  1515 E Woodfield Rd.
  Suite 250
  Schaumburg, IL 60173
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson Publishing Document
                       Company, LLCPage- 8 of 35



  American Express
  1200 W 7th St. L2-200
  Los Angeles, CA 90017


  American Express
  c/o Zwicker & Associates
  Attn: Daniel Moken, Esq.
  1105 Laurel Oak Rd., Suite 136
  Voorhees, NJ 08043


  Amy Morajda
  716 Parkwood Ave.
  Park Ridge, IL 60068


  Andre McDearmon Jr.
  3353 W. 83rd Place
  Chicago, IL 60652


  Angelo L Hongo
  P.O. Box 1202
  Chicago, IL 60690


  Arkadin Global Conferencing
  P.O. Box 347261
  Pittsburgh, PA 15251-4261


  Arkadin Global Conferencing
  c/o Brennan & Clark
  721 East Madison Street
  Suite 200
  Villa Park, IL 60181


  Arlene Noel
  3058 Grand Avenue
  Baldwin, NY 11510


  Asher Gabriel Dordek
  2910 W Sherwin Ave
  Chicago, IL 60645


  Ashley Flowers
  605 E. 102nd Street
  Chicago, IL 60628
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson Publishing Document
                       Company, LLCPage- 9 of 35



  Baker & McKenzie
  300 East Randolph Street
  Suite 5000
  Chicago, IL 60601-6384


  Baker & McKenzie LLP
  c/o Edward J Zulkey - RA
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  Suite 4300
  Chicago, IL 60601


  Beauty Story Corp
  4310 Canoga Drive
  Woodland Hills, CA 91364


  Blue Cross Blue Shield
  Health Care Service Corporation
  25550 Network Place
  Chicago, IL 60673-1255


  Branden R. Bell
  c/o Oliver Maner, LLP
  218 West State St.
  Savannah, GA 31401


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  c/o M. Brice Ladson, Esq.
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  Richmond Hill, GA 31412


  Brian E. Bell
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-10 of 35
                       Company, LLC



  Capital Holldings V, LLC
  300 Montgomery Street
  #1050
  Attn: Natalie D. Talbott
  San Francisco, CA 94104


  Capital Holldings V, LLC
  c/o Dechert LLP
  Attn: Jay R. Alicandri, Esq.
  1095 Avenue of the Americas.
  New York, NY 10036


  CareerBuilder Employment Screening, LLC
  3800 Golf Road, Ste 120
  Atrium Corporate Center
  Rolling Meadows, IL 60008


  CareerBuilder Employment Screening, LLC
  c/o C T Corporation System - RA
  208 S LaSalle St.
  Suite 814
  Chicago, IL 60604


  Carlton Fields
  P.O. Box 3239
  Tampa, FL 33601-3239


  CDS Global
  Paul Polus, CFO
  1901 Bell Avenue
  Des Moines, IA 50315-1099


  CDS   GLOBAL, INC.
  c/o   CT Corporation System - RA
  400   E Court Ave
  Des   Moines, IA 50309


  CenturyLink
  P.O. Box 4300
  Carol Stream, IL 60197-4300


  Centurylink Business Services
  100 CenturyLink Drive
  Monroe, LA 71203
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-11 of 35
                       Company, LLC



  Centurylink Business Services
  Attn: ARMS Payments
  1820 Sky Harbor Circle South
  Phoenix, AZ 85034-9700


  Certified Moving & Storage Co, LLC
  286 Madison Avenue
  15the Floor
  New York, NY 10017


  Chase Bank
  Mail Code OH1-1272
  340 S. Cleveland Ave.
  Bldg 370
  Westerville, OH 43081


  Chicago Office Technology
  P.O. Box 5940
  Lockbox #20-COE 001
  Carol Stream, IL 60197-5940


  Chicago Office Technology Group Inc.
  c/o CT Corporation System - RA
  208 S LaSalle St
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  Chicago, IL 60604


  CHLIC-Chicago
  5476 Collection Center Drive
  Chicago, IL 60693-0547


  Cigna Group Insurance
  P.O. Box 20643
  Lehigh Valley, PA 84971-9888


  Cigna Group Insurance
  c/o Leib
  P.O. Box 357
  Voorhees, NJ 08043


  City of Chicago
  c/o Harris & Harris
  111 West Jackson Blvd
  Chicago, IL 60604
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-12 of 35
                       Company, LLC



  City of Chicago
  Department of Finance-Tax
  333 S. State Street, Suite 300
  Chicago, IL 60604-3977


  ComEd
  P.O. Box 6111
  Carol Stream, IL 60197-6111


  ComEd Customer Care Center
  P.O. Box 805379
  Chicago, IL 60680-5379


  Conexis
  P.O. Box 8363
  Pasadena, CA 91109-8363


  Consumer Product Testing Co., Inc.
  70 New Dutch Lane
  Attn: Accounting Department
  Fairfield, NJ 07004-2514


  Consumer Product Testing Co., Inc.
  c/o The Receivable Man
  P.O. Box 361348
  Columbus, OH 43236


  CSC
  251 Little Falls Drive
  Philadelphia, PA 19808-1674


  CT Corporation
  P.O. Box 4349
  Carol Stream, IL 60197-4349


  Dana Hampton
  11452 S. Bell Ave
  Chicago, IL 60643


  Dante Disposable Products, LLC
  1014 S. Westlake Blvd
  #14-265
  Westlake Village, CA 91361
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-13 of 35
                       Company, LLC



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  Dell Business Credit
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  Carol Stream,, IL 60197-5275


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  c/o Randall Klein
  Goldberg Kohn
  55 East Monroe Street, Suite 3300
  Chicago, IL 60603-5792


  Dillard's
  1600 Cantrell Road
  Little Rock, AR 72201


  Donald Bufford
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  Houston, TX 77056


  Dougmar Consultants
  305 East 86th St., Apt 4J West
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  Dougmar Consultants
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  Chicago, IL 60606-1698


  Drinker Biddle & Reath LLP
  c/o Illinois Corporation Service C - RA
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  Springfield, IL 62703


  Ebony Media Operations, LLC
  c/o Parkview Capital Credit, Inc.
  1980 Post Oak Blvd.
  Houston, TX 77056
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-14 of 35
                       Company, LLC



  Fed Exp - Fashion Fair Account
  P.O. Box 94515
  Palatine, IL 60094-4515


  Federal Express- Johnson Publishing Acco
  P.O. Box 94515
  Palatine, IL 60094-4515


  Federal Express- Johnson Publishing Acco
  c/o North Shore Agency
  270 Spagnoli Road
  Suite 110
  Melville, NY 11747


  Franklin Capital Holdings LLC
  600 Central Avenue, #212
  Highland Park, IL 60035


  Freedom Models California, Inc.
  820 N. Fairfax Ave
  West Hollywood, CA 90046


  Fry Communications, Inc.
  115 W Main St
  Mechanicsburg, PA 17055


  Fry Communications, Inc.
  800 W. Church Road
  Mechanicsburg, PA 17055


  G.A. Finch
  5827 N Kostner Ave
  Chicago, IL 60646


  Geoffrey Black
  689 North Shelby Street
  Gary, IN 46403


  Grace Kingdom Beauty
  106 Lawrence Road
  Parsippany, NJ 07054


  Green Inc
  1718 N Wells
  Chicago, IL 60614
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-15 of 35
                       Company, LLC



  Green Inc
  c/o Tony Bryant - RA
  420 W Grand 1A
  Chicago, IL 60610


  Greenbaum Rowe Smith & Davis LLP
  P.O. Box 5600
  Woodbridge, NJ 07095


  GXS
  c/o J.P. Morgan Lockbox
  29144 Network Place
  Chicago, IL 60673-1290


  GXS
  c/o ABC/Amega
  500 Seneca Street
  Suite 400
  Buffalo, NY 14204-1963


  GXS, Inc
  c/o Illinois Corporation Service C - RA
  801 Adlai Stevenson Drive
  Springfield, IL 62703


  Hall's Magazine Reports
  80 Hathaway Dr
  Stratford, CT 06615


  Health Canada - Sante Canada
  Accts Receivable
  P/L 1918B - RM-Piece 1804B
  161 Godendrod DRWY
  Ottawa ON K1A 0K9


  Health Care Service Corporation Illinois
  c/o Illinois Corporation Service C- RA
  801 Adlai Stevenson Drive
  Springfield, IL 62703


  Herbert Mines Associates, Inc.
  600 Lexington Avenue
  2nd Floor
  New York, NY 10022
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-16 of 35
                       Company, LLC



  Herbert Mines Associates, Inc.
  c/o Harold D Reiter - RA
  600 Lexington Avenue
  2nd Floor
  New York, NY 10022


  Hi Class Espress, Inc.
  334 Totowa Road
  Front Left
  Totowa, NJ 07512


  Hochfelder & Weber, P.C.
  525 West Monroe
  Suite 910
  Chicago, IL 60661-3629


  Horizon Media, Inc.
  75 Varick Street
  New York, NY 10013


  Horizon Media, Inc.
  Attn: Business & Legal Affairs
  75 Varick Street
  New York, NY 10013


  Hudson Bay
  Attn: Legal Department
  698 Lawrence Ave West, 1st Floor
  Totonto ON M6A 3A5


  Hudson Group Retail, LLC
  1 Meadowlands Plaza-11th FL
  ATTN: Promo Department
  East Rutherford, NJ 07073


  ICON Group
  2747 West Taylor Street
  Chicago, IL 60612


  Illinois Department of Revenue
  Bankruptcy Unit
  P.O. Box 19035
  Springfield, IL 62794-9035
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-17 of 35
                       Company, LLC



  Illinois Department of Revenue
  100 W. Randolph
  Bankruptcy Section-Level 7-425
  Chicago, IL 60601


  Illinois Department of Revenue
  ICS Payment and Correspondence Unit
  P.O. Box 19043
  Springfield, IL 62794-9043


  Infinity Images
  5600 NE Hassalo Street
  Portland, OR 97213


  Infinity Images
  Attn: George F. Gross - Authorized Rep.
  5600 NE Hassalo St
  Portland, OR 97213


  Ingrid Phillips
  1519 E. 69th Street
  Chicago, IL 60637


  Internal Revenue Serivce
  P.O. Box 7346
  Philadelphia, PA 19101-7346


  Iron Mountain
  1000 Campus Drive
  Collegeville, PA 19426


  Isaacson CPA Group, Ltd.
  2460 Dundee Road, Unit 365
  Northbrook, IL 60065


  Iyanna Newborn
  5727 8th Avenue
  Los Angeles, CA 90043


  J.P. Morgan Broker-Dealer Holdings, Inc.
  c/o The Corporation Trust Company
  1209 Orange Street
  Wilmington, DE 19801
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-18 of 35
                       Company, LLC



  Jackie Smith
  6218 S. Ada
  Chicago, IL 60636


  Jacqueline King
  22042 Jordan Lane
  Richton Park, IL 60471


  James Taylor Boyd
  2820 Selwyn Ave
  Apt #769
  Charlotte, NC 28209


  Jay Packaging Group
  P.O. Box 185
  Rockland, MA 02370


  Jay Packaging Group
  100 Warwick Industrial Dr
  Warwick, RI 02886


  Jenner & Block LLC
  c/o JB Corporate Services, Inc - RA
  One IBM Plaza
  40th Floor
  Chicago, IL 60611


  Jenner & Block LLP
  353 N. Clark Street
  Chicago, IL 60654-3456


  Joan E. Lopera
  30 Third Avenue
  #3 N
  Brooklyn, NY 11217


  John Roach
  5931 S. Calumet
  2nd Floor
  Chicago, IL 60637


  John Stewart
  10206 S Prospect
  Chicago, IL 60643
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-19 of 35
                       Company, LLC



  John Wesley
  107 Vassar Avenue
  #2
  Newark, NJ 07112


  Johnson Holding Company, Inc.
  c/o The Corporation Trust Company
  1209 Orange Street
  Wilmington, DE 19801


  Jones Day
  77 W. Wacker Drive
  Suite 3500
  Chicago, IL 60601


  JPMorgan Chase Bank, N.A.
  10 S. Dearborn St.
  Mail Code IL1-P001
  Chicago, IL 60603-2300


  Karyn Pettigrew
  8950 S. Claremont
  Chicago, IL 60643-6420


  Kehinde A Akiwowo
  235 W 137th Street
  Apartment 2R
  New York, NY 10030


  Kelly Services, Inc.
  1212 Solutions Center
  Chicago, IL 60677-1002


  Kelly Services, Inc.
  c/o CT Corporation System - RA
  208 S LaSalle St
  Suite 814
  Chicago, IL 60604


  Kindrick Fletcher
  7355 S Crandon Ave
  2nd Flr
  Chicago, IL 60649
Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-20 of 35
                       Company, LLC



  Kolmar Laboratories, Inc.
  P.O. Box 95000-4175
  Philadelphia, PA 19195-0001


  Kolmar Laboratories, Inc.
  c/o the Prentice Hall Corporation System
  2595 Interstate Drive
  Suite 103
  Harrisburg, PA 17110


  Kolmar Laboratories, Inc.
  c/o Knowlton Development
  255 Roland-Therrien
  Suite 100
  Lomgueuil, Quebec J4H 4A6 Canan


  Konica Minolta Business Solutions
  USA Inc
  Dept. CH 19188
  Palatine, IL 60055-9188


  Konica Minolta Business Solutions
  Central Region
  500 W Madison St
  Suite 400
  Chicago, IL 60601


  Kroeger Pakaging, Inc.
  215M Central Avenue
  East Farmingdale, NY 11735


  Lavergerae Tyler
  5560 Van Buren St
  Merrillville, IN 46410


  Lee Hecht Harrison LLC
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-21 of 35
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-22 of 35
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-23 of 35
                       Company, LLC



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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-24 of 35
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-25 of 35
                       Company, LLC



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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-26 of 35
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-27 of 35
                       Company, LLC



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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-28 of 35
                       Company, LLC



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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-29 of 35
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-30 of 35
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-31 of 35
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-32 of 35
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Case 19-10236 Doc 1 Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
  Johnson PublishingDocument      Page-33 of 35
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  Johnson PublishingDocument      Page-34 of 35
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Case 19-10236   Doc 1   Filed 04/09/19 Entered 04/09/19 15:40:03   Desc Main
                         Document     Page 35 of 35
